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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

BOB KONKEL, individually and on                         Case No.
behalf of all others similarly situated,

                      Plaintiff,                        CLASS ACTION COMPLAINT

        v.                                              JURY TRIAL DEMANDED
BROTHER INTERNATIONAL
CORPORATION and BROTHER
INDUSTRIES (U.S.A.), INC.,

                       Defendants.



       Plaintiff Bob Konkel (“Plaintiff”) brings this action on behalf of himself and all others

similarly situated against Defendants Brother International Corporation and Brother Industries

(U.S.A.), Inc. (“Defendants”) for the manufacture, marketing, and sale of consumer products that

include printers sold under the “Brother” brand name (the “Products”). Plaintiff makes the

following allegations pursuant to the investigation of his counsel and based upon information

and belief, except as to the allegations specifically pertaining to himself, which are based on

personal knowledge.

                                      NATURE OF ACTION

       1.      This is a class action against Defendants for the marketing, manufacture, and/or

sale of consumer products (the “Products”), the warranties of which include statements that

condition the continued validity of the warranty on the use of only an authorized repair service

and/or authorized replacement parts (a “tying arrangement” or “unlawful repair restriction”).

Tying arrangements that condition a consumer product’s warranty on the use of a specific repair

service in this manner violate state and federal law. Further, Defendants exacerbate these

violations by stating on the outside of the product packaging that the Products include a limited




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warranty, but the unlawful repair restriction is not reasonably revealed to consumers until after

the point of sale. Had Plaintiff – or reasonable class members – been aware of the unlawful

repair restriction, he would not have purchased the Product, or would have paid significantly less

for it.

          2.   Plaintiff brings his claims against Defendants individually and on behalf of a class

of all other similarly situated purchasers of the Products for: (i) violations of the Magnuson-Moss

Warranty Act, (ii) unjust enrichment, (iii) fraud, and (iv) fraudulent omission.

                                            PARTIES

          3.   Plaintiff Bob Konkel is, and at all times relevant to this action has been, a resident

of Fairhaven, Massachusetts and a citizen of Massachusetts. In or about January 2020, Mr.

Konkel purchased one Brother Color Inkjet All-in-One Printer from a Staples store located in

Fairhaven, Massachusetts. Mr. Konkel purchased the Product, reasonably believing its warranty

complied with state and federal law and believing that he would have the ability to repair the

product if it malfunctioned. However, the Product Mr. Konkel purchased did not comply with

state and federal law because of the unlawful repair restriction attached to the warranty which

prohibited him from repairing the Product. Mr. Konkel would not have purchased the Product,

or would have paid significantly less for the Product, had he known that the Product did not

comply with state and federal law. The unlawful repair restriction attached to his warranty was

only made reasonably apparent to him after purchasing the product and opening the packaging at

home.

          4.   The Product that Mr. Konkel purchased began to slightly malfunction shortly after

he purchased it. He would have liked to endeavor to repair his product himself during the

warranty period, but his warranty as written prohibited him from doing so.




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       5.      Mr. Konkel reviewed the Product’s packaging prior to purchase. Mr. Konkel

relied on the packaging in making his purchase decision. Defendants disclosed on the packaging

that the Product he purchased included a limited warranty but did not disclose that the warranty

included an unlawful repair restriction. Had there been a disclosure, Mr. Konkel would not have

purchased the Product because the unlawful repair restriction would have been material to him,

or at the very least, he would have purchased the Product at a substantially reduced price.

       6.      Defendant Brother International Corporation is a Delaware corporation with its

principal place of business at 200 Crossing Blvd. Bridgewater, New Jersey 08807-0911.

Defendant Brother International Corporation markets and distributes the Products throughout the

United States. Defendant Brother International Corporation sells its products to consumers on

websites and retail stores nationwide.

       7.      Defendant Brother Industries (U.S.A.) Inc. is a Delaware corporation with its

principal place of business at 7819 North Brother Blvd. Bartlett, Tennessee 38133. Defendant

Brother Industries (U.S.A.) Inc. manufactures the Products and distributes the Products

throughout the United States.

       8.      Each of the Defendants acted jointly to perpetrate the acts described herein. At all

times relevant to the allegations in this matter, each of these Defendants acted in concert with,

with the knowledge and approval of, and/or as the agent of the other Defendant within the course

and scope of the agency, regarding the acts and omissions alleged.

                                JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d) because there are more than 100 class members and the aggregate amount in




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controversy exceeds $5,000,000, exclusive of interest, fees, and costs, and at least one Class

member is a citizen of a state different from Defendants.

       10.     This Court has personal jurisdiction over both Defendants because Defendant

Brother Industries (U.S.A.) Inc. maintains its principal place of business in this District.

Additionally, both Defendants conduct substantial business within this District and a substantial

portion of the events that gave rise to Plaintiff’s claims occurred in this District at Defendant

Brother Industries (U.S.A.) Inc.’s headquarters.

       11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants

do substantial business in this District, and a substantial part of the events giving rise to

Plaintiff’s claims took place within this District.

                            COMMON FACTUAL ALLEGATIONS

I.     Defendants’ Business Activities

       12.     Defendants distribute consumer products to retailers throughout the United States,

who then sell the appliances to consumers.

       13.     Defendants’ products include printers sold under the Brother brand name.

       14.     All the relevant Products include the same unlawful repair restriction in their

warranties.

       15.     Defendants have advertised, marketed, offered for sale, sold, and distributed

products through authorized dealers to consumers.

       16.     Defendants’ Products include a “written warranty” as defined by the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(6), in the form of a limited warranty (“Warranty

Statement”).

       17.     The length of the limited warranty offered by Defendants is one to two years.




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         18.    Defendants’ limited warranty includes the aforementioned unlawful repair

restriction.


II.      The Defendants Condition Warranty Coverage On Unlawful Repair Restrictions

         19.    In numerous instances, Defendants, through their warranty statements for various

appliances, condition warranty coverage on the usage of Defendants’ repair services to perform

maintenance and repair work, rather than allowing consumers to repair the product themselves or

take it to a third-party repair service.

         20.    Specifically, Defendants’ warranty states: “This limited warranty is VOID if this

Product has been altered or modified in any way (including but not limited to attempted warranty

repair without authorization from Brother and/or alteration/removal of the serial number).” 1

         21.    Under the terms of the warranty, Defendants are not obligated to provide first

party repair service and parts free of charge.

         22.    Under the terms of the warranty, purchasers are bound to only use authorized

repair services and original Brother parts.

         23.    Under Defendants’ warranty, Defendants in effect provide parts in a manner

which impedes or precludes the choice by the consumer to perform necessary labor to install

such parts.

         24.    By conditioning their warranty in this manner, Defendants have violated the tying

prohibition in the Magnuson-Moss Warranty Act, which prohibits companies from conditioning

their warranties on a consumer’s use of any article or service (other than an article or service




1
 https://www.brother-usa.com/-/media/brother/product-catalog-
media/documents/2021/10/14/23/11/brother-2-year-limited-warranty.pdf




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provided without charge under the terms of the warranty) identified by brand, trade, or corporate

name.

        25.    Defendants’ practices also violate state laws, as well as Section 5(a)(1) of the FTC

Act, 15 U.S.C. § 45(a)(1) which prohibits unfair or deceptive actors or practices, as well as

unfair methods of competition, in or affecting commerce. Section 5 also encompasses violations

of the Sherman Act, which prohibits certain exclusionary and other anticompetitive conduct.

III.    The Magnuson-Moss Warranty Act

        26.    The Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301-2312, is the federal law

that regulates consumer warranties and the procedures used to resolve warranty disputes. It also

directs the FTC to prescribe rules enforcing certain requirements pertaining to the use and

content of consumer warranties.

        27.    Section 2302(c) of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2302(c),

prohibits any warrantor from conditioning a warranty on the consumer’s using, in connection

with the warranted product, any article or service (other than an article or service provided

without charge under the terms of the warranty) which is identified by brand, trade, or corporate

name.

        28.    An FTC Rule interpreting this provision specifically addresses warranty language

(nearly identical to Defendants’ warranty):

               No warrantor may condition the continued validity of a warranty
               on the use of only authorized repair service and/or authorized
               replacement parts for non-warranty service and maintenance (other
               than an article of service provided without charge under the
               warranty or unless the warrantor has obtained a waiver pursuant to
               section 102(c) of the Act, 15 U.S.C. 2302(c)). For example,
               provisions such as, “This warranty is void if service is performed
               by anyone other than an authorized ‘ABC’ dealer and all
               replacement parts must be genuine ‘ABC’ parts,” and the like, are
               prohibited where the service or parts are not covered by the




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               warranty. These provisions violate the Act in two ways. First,
               they violate the section 102(c), 15 U.S.C. 2302(c), ban against
               tying arrangements. Second, such provisions are deceptive under
               section 110 of the Act, 15 U.S.C. 2310, because a warrantor
               cannot, as a matter of law, avoid liability under a written warranty
               where a defect is unrelated to the use by a consumer of
               “unauthorized” articles or service.

16 CFR § 700.10(c)

IV.      Section 5 Of The Federal Trade Commission Act

         29.   The FTC has found that a “manufacturer’s use of a repair restriction could be

challenged as an unfair practice under Section 5 of the FTC Act if the repair restriction causes

substantial injury (e.g., monetary harm or unwarranted health and safety risks) that is not

outweighed by countervailing benefits to consumers or competition that the practice produces,

and the injury could not have been reasonably avoided by consumers.” 2

         30.   Section 5 of the Federal Trade Commission Act prohibits unfair or deceptive

actors or practices, as well as unfair methods of competition, in or affecting commerce. Section

5 also encompasses violations of the Sherman Act, which prohibits certain exclusionary and

other anticompetitive conduct. See, e.g., Eastman Kodak Co. v. Image Technical Servs., Inc.,

504 U.S. 451 (1992); United States v. Microsoft, 253 F.3d 34 (D.C. Cir. 2001).

         31.   The FTC has noted that “[r]estricting consumers and businesses from choosing

how they repair products can substantially increase the total cost of repairs, generate harmful

electronic waste, and unnecessarily increase wait times for repairs. In contrast, providing more

choice in repairs can lead to lower costs, reduce e-waste by extending the useful lifespan of




2
  https://www.ftc.gov/system/files/documents/reports/nixing-fix-ftc-report-congress-repair-
restrictions/nixing_the_fix_report_final_5521_630pm-508_002.pdf, pg 14.



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products, enable more timely repairs, and provide economic opportunities for entrepreneurs and

local businesses.” 3

           32.     The FTC has issued several warning letters to companies that appeared to be

engaged in warranty tying in violation of the Magnuson-Moss Warranty Act and has brought at

least one enforcement action.

           33.     The FTC has concluded that “it is clear that repair restrictions … steered

consumers into manufacturers’ repair networks or to replace products before the end of their

useful lives.” 4

           34.     The FTC has also expressed concern that repair restrictions “may place a greater

financial burden on communities of color and lower-income Americans.” 5

           35.     While manufacturers explain that these repair restrictions often arise from their

desire to protect intellectual property rights and prevent injuries and other negative consequences

resulting from improper repairs, the FTC has found that such justifications “should be rejected if

found to be a mere pretext for anticompetitive conduct.” 6

           36.     Here there is no justification for Defendants’ repair restrictions since the

technology inside many of Defendants’ Products (such as their inkjet printers) are well known




3
 https://www.ftc.gov/system/files/documents/public_statements/1592330/p194400repairrestrictio
nspolicystatement.pdf, pg 1.
4
  “Nixing the Fix: An FTC Report to Congress on Repair Restrictions”, available at
https://www.ftc.gov/system/files/documents/reports/nixing-fix-ftc-report-congress-repair-
restrictions/nixing_the_fix_report_final_5521_630pm-508_002.pdf, pg 6.
5
    Id. at 5.
6
    Id. at 10.




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and simple, and the repair restriction is not relevant as to any consideration of personal injury or

improper repairs. 7

         37.   Due to these factors, on July 21, 2021, the FTC unanimously voted to ramp up

law enforcement against repair restrictions that prevent small businesses, workers, consumers,

and even government entities from fixing their own products. 8

                         CLASS REPRESENTATION ALLEGATIONS

         38.   Plaintiff seeks to represent a class defined as all purchasers of Brother branded

products in the United States with warranty provisions that prohibits self-repair and/or the use of

unauthorized parts (the “Class”). Excluded from the Class are persons who made such purchases

for purpose of resale.

         39.   Plaintiff also seeks to represent a subclass of all Class Members who purchased

Brother branded products in the Commonwealth of Massachusetts with warranty provisions that

prohibits self-repair and/or the use of unauthorized parts (the “Massachusetts Subclass”)

(collectively with the Class, the “Classes”).

         40.   Subject to additional information obtained through further investigation and

discovery, the above-described Classes may be modified or narrowed as appropriate, including

through the use of multi-state subclasses.

         41.   At this time, Plaintiff does not know the exact number of members of the

aforementioned Class and Massachusetts Subclass (“Class Members” and “Subclass Members,”

respectively) but believes it numbers in the hundreds of thousands. Given the size of the

7
 For example, compare Defendants’ warranty with what can be found at
https://www.lasko.com/resources/warranties/, “This warranty does not apply if the product was
damaged or failed because of accident, improper handling or operation, shipping damage, abuse,
misuse, unauthorized repairs made or attempted.”
8
  https://www.ftc.gov/news-events/press-releases/2021/07/ftc-ramp-law-enforcement-against-
illegal-repair-restrictions.



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Defendants’ operation and the number of retail stores in the United States selling Defendants’

Products, Plaintiff believes that Class and Subclass Members are so numerous that joinder of all

members is impracticable.

       42.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Classes that

predominate over questions that may affect individual Class members include:

               (a)   Whether Defendants misrepresented and/or failed to disclose

                     material facts concerning the Products;

               (b)   whether Defendants’ conduct was unfair and/or deceptive;

               (c)   whether Defendants have been unjustly enriched as a result of

                     the unlawful conduct alleged in this Complaint such that it would

                     be inequitable for Defendants to retain the benefits conferred

                     upon Defendants by Plaintiff and the Classes;

               (d)   whether Plaintiff and the Classes sustained damages with respect

                     to the common law claims asserted, and if so, the proper measure

                     of their damages;

               (e)   whether Defendants’ conduct violates the Magnuson-Moss

                     Warranty Act; and

               (f)   whether Defendants’ conduct violates section 5 of the Federal

                     Trade Commission Act.

       43.     Plaintiff’s claims are typical of those of the Classes because Plaintiff, like all

members of the Classes, purchased, in a typical consumer setting, Defendants’ Products, and

Plaintiff sustained damages on account of Defendants’ wrongful conduct.




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         44.   Plaintiff will fairly and adequately protect the interests of the Classes and has

retained counsel that is experienced in litigating complex class actions. Plaintiff has no interests

which conflict with those of the Classes.

         45.   A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, especially given the potentially low individual damages suffered

by individual class members.

         46.   The prosecution of separate actions by members of the Classes would create a risk

of establishing inconsistent rulings and/or incompatible standards of conduct for Defendants.

For example, one court might enjoin Defendants from performing the challenged acts, whereas

another might not. In addition, individual actions could be dispositive of the interests of the

Classes even where certain Class or Subclass Members are not parties to such actions.

                                          COUNT I
                       Violation Of The Magnuson-Moss Warranty Act,
                                   15 U.S.C. §§ 2301, et seq.

         47.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         48.   Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendants.

         49.   The Products are consumer products as defined in 15 U.S.C. § 2301(1).

         50.   Plaintiff and the Class and Subclass Members are consumers as defined in 15

U.S.C. § 2301(3).

         51.   Defendants are suppliers and warrantors as defined by the Warranty Act because

they are suppliers or other persons who give or offer to give a written warranty or who are or

may be obligated under an implied warranty. 15 U.S.C. § 2301(4) and (5).




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         52.     No warrantor may condition the continued validity of a warranty on the use of

only authorized repair service and/or authorized replacement parts for non-warranty service and

maintenance (other than an article of service provided without charge under the warranty or

unless the warrantor has obtained a waiver pursuant to section 102(c) of the Act, 15 U.S.C.

2302(c)). 16 CFR § 700.10(c).

         53.     In connection with the marketing and sale of the Product, Defendants have

conditioned a warranty on the consumer’s using, in connection with the warranted Product, with

the use of only an authorized repair service and/or authorize replacement parts. 16 CFR §

700.10(c).

         54.     Specifically, Defendants’ warranty states: “This limited warranty is VOID if this

Product has been altered or modified in any way (including but not limited to attempted warranty

repair without authorization from Brother and/or alteration/removal of the serial number).”

         55.     By reason of Defendants’ breach of warranties, Defendants violated the statutory

rights due Plaintiff and the Class and Subclass Members pursuant to the Magnuson-Moss

Warranty Act, 15 U.S.C. §§ 2301, et seq., thereby economically damaging Plaintiff and the Class

and Subclass Members.

         56.     Plaintiff and the Class and Subclass Members were injured as a direct and

proximate result of Defendants’ breach because they would not have purchased the Products if

they knew the truth about the deceptive nature of the Products or would have paid substantially

less for them.

                                           COUNT II
                                        Unjust Enrichment

         57.     Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.




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         58.    Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendants.

         59.    Plaintiff and members of the Classes conferred benefits on Defendants by

purchasing the Product.

         60.    Defendants have been unjustly enriched in retaining the revenues derived from

Plaintiff and Class and Subclass Members’ purchases of the Product. Retention of those moneys

under these circumstances is unjust and inequitable because Defendants failed to disclose that the

Products contained an unlawful repair restriction until after the point of sale. These omissions

caused injuries to Plaintiff and Class and Subclass members because they would not have

purchased the Products if the true facts were known or would have paid substantially less for the

product.

         61.    Retention of those monies also is unjust and inequitable because, as alleged

above, Defendants include an unlawful repair restriction on their Products that is not reasonably

disclosed until after the point of sale.

         62.    Because Defendants’ retention of the non-gratuitous benefits conferred on them

by Plaintiff and members of the Classes is unjust and inequitable, Defendants must pay

restitution to Plaintiff and members of the Classes for their unjust enrichment, as ordered by the

Court.

                                            COUNT III
                                              Fraud

         63.    Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         64.    Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendants.




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        65.      As discussed above, Defendants provided Plaintiff and members of the Classes

with false or misleading material information about the Products.

        66.      Specifically, Defendants indicated to Plaintiff and members of the Classes that

they would be unable repair or use parts not authorized by Defendants on the products that they

had just purchased. Defendants added this provision knowingly in order to encourage Plaintiff

and members of the Classes to purchase new Products and/or replacement parts at inflated prices

rather than repair older Products or purchase third-party parts.

        67.      Defendants misrepresented these unlawful repair restrictions as binding and

enforceable even though such restrictions were explicitly unlawful according to FTC regulations

and thus unenforceable.

        68.      Defendants exacerbated these misrepresentations because the unlawful repair

restrictions were not reasonably revealed to Plaintiff and members of the classes until after the

point of sale.

        69.      These misrepresentations were made with knowledge of their falsehood.

        70.      The misrepresentations made by Defendants, upon which Plaintiff and members

of the Classes reasonably and justifiably relied, were intended to induce, and actually induced

Plaintiff and members of the Classes to purchase Products that they otherwise would not have or

at least pay substantially more for the product than they would have.

        71.      The fraudulent actions of Defendants caused damage to Plaintiff and members of

the Classes in the form of price premiums and are entitled to damages and other legal and

equitable relief as a result.




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                                           COUNT IV
                                       Fraudulent Omission

         72.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         73.   Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendants.

         74.   This claim is based on fraudulent omissions concerning the unlawfulness of the

repair restrictions that are included in Defendants’ warranties. As discussed above, Defendants

failed to disclose that the Products included a restriction that ostensibly prevented Plaintiff and

members of the class from repairing their products themselves until after the point of sale.

         75.   The false and misleading omissions were made with knowledge of their

falsehood. Defendants manufacture, market, and sell consumer electronics nationwide and know

that the FTC has stated that repair restrictions of the type that appears on Defendants’ warranty

are unlawful. Nonetheless, Defendants continued to include their unlawful repair restrictions on

their Products and continue to fail to reveal such restrictions to consumers until after the point of

sale.

         76.    The false and misleading omissions were made by Defendants, upon which

Plaintiff and members of the proposed Classes reasonably and justifiably relied, and were

intended to induce and actually induced Plaintiff and members of the Classes to purchase

Products that they otherwise would not have or at least pay substantially more for the Products

than they otherwise would have.

         77.   The fraudulent actions of Defendants caused damage to Plaintiff and members of

the proposed Classes, who are entitled to damages and punitive damages.




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                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendants, as follows:

                  (a)   For an order certifying the nationwide Class and Massachusetts

                        Subclass under Rule 23 of the Federal Rules of Civil Procedure and

                        naming Plaintiff as representative of the Class and Massachusetts

                        Subclass and Plaintiff’s attorneys as Class Counsel to represent the

                        Class and Massachusetts Subclass Members;

                  (b)   For an order declaring the Defendants’ conduct violates the statutes

                        referenced herein;

                  (c)   For an order finding in favor of Plaintiff, the nationwide Class, and

                        the Massachusetts Subclass on all counts asserted herein;

                  (d)   For compensatory, statutory, and punitive damages in amounts to be

                        determined by the Court and/or jury;

                  (e)   An award of statutory penalties to the extent available;

                  (f)   For pre-judgment interest on all amounts awarded;

                  (g)   For an order of restitution and all other forms of monetary relief; and

                  (h)   For an order awarding Plaintiff, the Class, and Massachusetts

                        Subclass their reasonable attorneys’ fees and expenses and costs of

                        suit.

                                  DEMAND FOR TRIAL BY JURY

           Pursuant to Fed. R. Civ. P. 38(b)(1), Plaintiff demands a trial by jury of all issues so

triable.




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Dated: January 31, 2022              Respectfully submitted,

                                   BURSOR & FISHER, P.A.

                                   By:     /s/ Andrew Obergfell
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